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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Jacam Chemical Company 2013, LLC,            )
                                             )
              Plaintiff,                     )       ORDER
                                             )
       vs.                                   )
                                             )
Arthur H. ShepardJr. and Geo
                                             )
Chemicals, LLC,                              )       Case No. 1:19-cv-093
                                             )
              Defendants.                    )


       On January 11, 2021, the parties filed a Joint Stipulation to Amend Scheduling/Discovery

Plan Deadlines. The court ADOPTS the parties’ stipulation (Doc. No. 137). The pretrial deadlines

shall be amended as follows:

       1.     The parties shall have until June 15, 2021, to complete fact discovery and to file

              discovery motions.

       2.     The deadlines for exchanging complete expert witness reports are as follows:

              a.      June 15, 2021 for plaintiff;

              b.      July 23, 2021 for defendants; and

              c.      August 23, 2021, for any rebuttal experts.

       3.     The parties shall have until September 20, 2021, to complete discovery depositions

              of exert witnesses.

       4.     Nondispositive motions are due by October 4, 2021.

       5.     Dispositive motions are due by October 18, 2021.

The final pretrial conference set for November 23, 2021, shall be rescheduled for April 13, 2022,

by telephone. To participate in the conference, the parties should dial (877) 810-9415 and enter

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access code 8992581. The jury trial scheduled for December 6, 2021, shall be rescheduled for April

25, 2022, at 9:00 a.m. in Bismarck (Eagle courtroom) before Judge Hovland. A five (5) day trial

is anticipated.

        IT IS SO ORDERED.

        Dated this 12th day of January, 2021.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court




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